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 4

 5 Attorney for XAVIER JOHNSON

 6

 7
                                 UNITED STATES DISTRICT COURT
 8
                                 EASTERN DISTRICT OF CALIFORNIA
 9
10 UNITED STATES OF AMERICA,              )   CASE NO.   12-CR-00250 - GEB
                                          )
11                          Plaintiff,    )
                                          )
12                                        )
     v.                                   )
13                                        )   [PROPOSED] STIPULATION AND ORDER TO
                                          )   CONTINUE JUDGEMENT AND SENTENCING
14 XAVIER JOHNSON,                        )
                                          )
15                          Defendant.    )
                                          )
16 __________________________________     )

17

18        IT IS HEREBY STIPULATED by and between the parties hereto through their

19 respective counsel, Matthew Morris, Assistant United States Attorney, attorney for
20 plaintiff; Timothy Delgado, Assistant United States Attorney, attorney for

21 plaintiff; Kyle Knapp, attorney for defendant, XAVIER JOHNSON, that the previously

22 scheduled sentencing date of September 15, 2017, be vacated and the matter set for

23 sentencing on October 27, 2017 at 9:00am.

24        This continuance is requested to allow counsel additional time to provide

25 mitigation materials to probation and to finalize research on several sentencing

26 memorandum issues relevant to the guideline analysis.    I have contacted Mr. Morris,

27 and Ms. Morehouse and they have no objection to the continuance.

28        In light of the above request the following revised sentencing schedule is
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 1
     requested - Judgement and Sentencing – October 27, 2017; Reply or Statement of Non
 2
     Opposition to Motion to Correct PSR/Formal Objections due October 20, 2017; the
 3
     final PSR and formal objections have been filed.
 4
     Dated: September 8, 2017                           Respectfully submitted.
 5

 6                                                          /s/ Kyle R. Knapp

 7                                                      Kyle R. Knapp
                                                        Attorney for Defendant, Xavier
 8                                                      Johnson

 9 Dated: September 8, 2017                             Respectfully submitted.
10
                                                            /s/ Matthew Morris
11                                                      Matthew Morris
                                                        Assistant U.S. Attorney
12                                                      Attorney for Plaintiff

13 Dated: September 8, 2017                             Respectfully submitted.

14
                                                            /s/ Timothy Delgado
15                                                      Timothy Delgado
                                                        Assistant U.S. Attorney
16                                                      Attorney for Plaintiff

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18 IT IS SO ORDERED.

19 Dated: September 9, 2017
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